Case 2:05-md-01657-EEF-DEK Document 55949-1 Filed 11/16/10 Page 1 of1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Gary T. Bielak, et al. JUDGE FALLON

V.

Merck & Co., Inc., et al. MAGISTRATE JUDGE KNOWLES

Only with regard to:
Thomas N. Rago and Barbara Rago

Docket No. 2:06-cv-01205

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ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,

IT IS ORDERED that the claims of plaintiffs Thomas N. Rago and Barbara Rago in the
above-captioned case be and they hereby are dismissed with prejudice with each party to bear his
or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
